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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

FRED L NANCE JR                              )
                                             )       CASE # 22 CV 3861
         PLAINTIFF                           )
                                             )       HONORABLE JUDGE
         vs                                  )       JORGE L ALONSO
                                             )       HONORABLE MAGISTRATE JUDGE:
UNITED STATES, et al.                        )       BETH W. JANTZ
                                             )
         DEFENDANTS.                         )       Courtroom: 1903

                AFFIDAVIT/DECLARATION OF DR. FRED L. NANCE JR.

Discovery will bring to light some information that would help plaintiff analyze his respective
strengths/weaknesses and the chance to successfully litigate his claims. Discovery is a critical
phase of any trial or lawsuit and can make the diffrence
                                                     e     between a successful case and one that
goes horribly awry.  Parties are required to share evidence supporting their case. Failure to do so
can preclude that evidence from being used at trial. Parties arc given chance to correct any wrong
information that may have been submitted. I, Dr. Fred Nance Jr., hereby declare that the
following statement is pursuant to FRCP 56(d) and submits the following affidavit to support the
reason for discovery before any decision by this court to dismiss plaintiffs complaint against the
United States et al.

    I. Plaintiff needs discovery to support his claims.

   2. Plaintiff filed his Original Complaint on October 23, 2020.

    3.   On or about April 18,2020, acting on the discussion with Congressman Danny K.
Davis" and the email sent to defendant Bradley, plaintiff filed his 1" Whistlcblower complaint
with supporting documents to DOJ, BJA, OJP "Willis" and "Bethea" via email reporting the
appearance of misappropriation of funds and/or fraud.

  4. Neither DOJ, BJA, OJP "Willis" nor "Bethea" responded to the April 17, 2020
Whistleblower complaint.

    5. Defendant "Hattie" reported to DOJ, BIA, OJP, "Dever", "Bethea", and Wilis" the
reason she was giving the grant back is because of problems and barriers with the Coronavirus.

    6. On August 21, 2020, defendant "Hattie" sent an email to plaintiff stating she is willing to
give the program up because of plaintiff s Whistleblower complaints.

    7. Defendant "Hattie" gave false and misleading information to DOJ, BJA, and OJP to why
she was giving the "SCA Grant" back.
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   8. On August 28, 2020, plaintifffiled his 2" Whistleblower complaint via email to DOJ,
BJA, OIP "Willis", "Bethea", and our Technical Advisor, Joseph Williams (hereinafter, "TA").

    9. Regarding the email of August 28, 2020, plaintiff states "Good evening. I filed my
Whistleblower complaint with the Office of the Tnspector General, Investigations Division
(hereinafter, "OlG") tonight.. .I am not sure why Ms. Willis granted Dr. Wash taking me off as
POC of this grant. You limited my performing my duties and allowed Dr. Wash to retaliate
against me .... "

   10. Neither DOJ, BJA, OIP "Willis" nor "Bethea" responded to my email dated August 28,
2020.

    11. On August 29, 2020, plaintiff sent an email to DOJ, BJA, OJP "Willis", "Bethea" and to
"TA" giving a detailed report of his "OIG" complaint giving a history of the plaintiff and
defendant "Hattie relationship as it relates to DOJ, BJA, OJP grants, the Whistlcblower
complaints and history working voluntarily with "Congressman Davis" and being a Peer
Reviewer for the DOJ, BJA, OJP.

   12. On August 29, 2020, plaintiff sent a revised copy of his Whistleblower complaint to the
"OIG", to DOJ, BJA, OJP "Wilis", "Bethea", and TA"

    13. On August 31, 2020, DOJ, BJA, OJP Willis" sent an email to plaintiff stating plaintiff
should send all correspondence about the grant to defendant "Hattie"

    14. On September 1. 2020, DOJ, BJA, OJP "Dever" responded to plaintiff's email stating, in
part, " ... We have received your emails and are looking into the grant expenditure information
you referenced this week. Thanks again for your outreach and rest assured that we are taking
steps to get to the bottom of the issues you've raised..."

    15. Michael Dever never provided any results to the plaintiff regarding #14.

    16. On September 2, 2020, plaintiff forwarded an email from the Cook County jail to DOJ,
BJA, OJP "Willis", "Bethea", "Dever", and TA Williams regarding the re-opening of our pre-
release services.

   17. On September 7, 2020, plaintiff sent an email titled "SCA Grant Accountant Emails and
monthly Contractual Fee Invoices" t0 DOJ, BJA, O.IP "Dever", "Bethea", and "Willis".

    18. On September 13, 2020, plaintiff sent an email to defendants alerting them he was filing
his 3" Whistlcblower complaint.

    19. On September 21, 2020, defendant "Hattie" sent an email to staff falsely reporting why
she was giving the "SCA Grant" back,

  20. On September 22, 2020, plaintiff sent an email to defendants regarding defendant
Hattie" false report for giving the SCA Grant" back.
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   21. On September 22, 2020, plaintiff sent an email to DOJ, BJA, OJP Willis", "Bethea", and
"Dever" stating "Protect my Job" listing the posting plaintiff has on Twitter.

    22. On September 25, 2020, plaintiff sent an email to defendants and "Congressman Davis"
regarding defendants violating plaintiff's Whistleblower rights.

   23. On September 25, 2020, plaintiff sent this email to DOJ, BJA, OP Dever", "Bethea",
and "Willis" along with another DOJ person about plaintiffs Whistleblower complaints.

   24. On September 27, 2020, defendant "Hattie" admits plaintiffs company C.L.LC.K.
Services, NFP partnered with EMAGES, Inc. when she ask Is this the grant we applied for?

    25. On September 26, 2020, plaintiff sent an email to all consultants instructing them to
differentiate to the "SCA Groups" that their program was not terminated because of fees not
being paid.

   26. On September 29, 2020, plaintiff filed all 3 Whistleblower complaints with the Office of
Special Counsel.

   27. 0n October 9, 2020, Plaintiff filed the "MA AT" quarterly (July thru September 30,
2020) report.

    28. There is nothing in the July thru September 30, 2020 quarterly report to support
defendant "Hattie" claim of the Coronavirus affecting the attendance and quality of the
teleconferencing mentoring services being provided to our population.

    29. On October 13, 2020, plaintiff received an email determination letter from the OIG
addressing only "part" of plaintiffs 2" Whistleblower complaint, denying plaintiffs retaliation
allegation.

   30. On October 13, 2020, plaintiff sent an email addresed to "Congressman Davis", copying
DOJ Office of Inspector General, and all defendants regarding the violation of plaintiff's
Whistleblower rights.

    31. On October 15, 2020, plaintiff sent an email to "Congressman Davis" and all defendants
responding to DOJ, BJA, OJP "Dever" reporting the real" duties of the Grant Administrator,
which prompted plaintiff to immediately start this litigation.

    32. Plaintiff was under the impression that being the Grant Administrator DOJ, BIA, OIP
had given CL.IC.K. Services, NFP the grant since dcfendant "Hattie" said she would give the
grant up and plaintiff could have it.

   33. On October 17, 2020, plaintiff sent an email to DOI, BJA, OJP ·Dever", Bethea",
Willis", "Congressman Davis" and the TA with attachments labeled DOJ, BJA, OJP et al
Violation of Whistleblower Act NDAA 2013 & 41 U.S.C. $ 4712.
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   34. On February 13, 2021, plaintiff filed a Motion Under Rule 26 and 56(d).

   35. On February 17, 2021, Judge Alonso denied plaintiff's motion under Rule 26 and 56(d).

    36. On April 29, 2021, Ms. Bernice Horne and Abitha William (hereinafter, "Bernice") of
BETHA Associates, Ine. (OJP Peer Review Support Services) contacted plaintiff via email
requesting his availability to peer review the FY 2021 Second Chance Act Community-Based
Reentry Program, which is the process. Plaintiff accepted the invitation to peer review this
solicitation.

    37. On May 25, 2021, DOJ, BJA, OJP's Bethea sent an email to plaintiff stating "The Office
of Justice Programs (OJP) has received your appeal in response to the Second Chance Act
Community-based Reentry FY 2021 grant solicitation. After careful consideration of your case,
unfortunately the decision has been made to deny your appeal...."

    38. On May 26, 2021, Bethea sent the following email to plaintiff stating ... The Office of
Justice Programs (OJP) has received your request to apply late in response to the Second Chance
Act Community-based FY 2021 grant solicitation. We understand that your agency experienced
technical difficulties while using our new system Justice Grants System (JustGrants), and we are
pleased to offer additional time to submit/ complete your application.

   39. Plaintiff accepted the invitation to peer review this solicitation.

   40. Bernice responded via email stating "Dr. Fred Nance Jr., Thank you for reaching out.
Yes, please follow the steps of clicking on the JustGrants Peer Review Portal icon and
completing your contact information."

   41. On June 7, 2021, Bernice wrote "You've been selected to participate on the FY 21
Second Chance Act Community-Based Reentry Program peer review."

   42.0nJmne 8, 2021, Judge Alonso issued a Memorandum Opinion and Order stating
"Plaintiff alleges the existence of his three whistleblower complaints in his complaint...The
Court may consider those documents without converting the motion to dismiss to a motion for
summary judgment, because they are referred to in plaintiff's complaint and are central to
plaintiff s claims. Equal Employment Opportunity Comm'n v. Concentra Health Services, Inc.,
496 F.34 773, 778 (7uh Cir. 2007)."

   43. Judge Alonso further states "...Accordingly, plaintiff s FTCA claim is dismissed... This
dismissal is without prejudice to plaintiffs right to file an administrative claim with the
appropriate agency, see Chronis, 932 F.3d at 549.

    44. Plaintiff needs answers from the defendants to the following to explain their decision for
terminating plaintiff s employment via Grant #2018-CY-BX-0025.

   45. DOJ, BJA, OP.J employees Dever, Bethea, and Willis informed plaintiff that defendant
Hattie gave reasons for giving the grant back.
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     46. On June 9, 2021 Bernice et al. sent an email to plaintiff stating "Hello Dr. Nance, Thank
you for reaching out. We appreciate your time and patience while we finalized the panel
composition for this grant. As there are fewer applications going forward to peer review than
initially anticipated, we will not need to utilize the total number of peer reviewers initially
invited to participate.

    47. On June 10, 2021, Bernice Horne wrote: "Dear Dr. Nance, You are not eligible to serve
on this peer review panel. Peer reviewers must comply with BJA's conflict of interest rules and
regulations. A peer reviewer cannot have a financial relationship with an organization that
submitted an application under the solicitation being peer reviewed."

    48. On June 10, 2021, plaintiff sent the following messages via email to Bernice et al. "I
worked for you guys on the 2019 peer review team with the same grant, which I had a financial
interest with another grant #2018-CY-BX-0025.°

    49. The United States Department of Justice sent the plaintiff a letter dated April 28, 2022
basically, stating the plaintiff had exhausted his administrative remedies and determined his
claim is not compensable.

    50. The statement made by the U.S. Department of Justice on April 28, 2022, must be further
explained via discovery.

    51. Plaintiff has not had discovery because defendant United States has circumvented the
discovery processes by filing a motion to dismiss or in the alternative summary judgment.

   52. Plaintiff should have the opportunity to show he docs not need to be an employee of the
United States government to bring his claims in a whistlcblower case.

    53. This affidavit process is straightforward: a nonmovant must show the courtby affidavit
or declaration" the specified reasons that prevent it from presenting facts essential to justify its
opposition to summary judgment. See FRCP 56()

    54. Plaintiff attempted to file a request for Student Loan Forgiveness.

    55. Every employer plaintiff sent his requests to they provided the dates of employment and
signed the document EXCEPT defendants EMAGES, Inc. and Hattie Wash who apparently feel
empowered by this court and defendants United States et al.

     56. Therefore, plaintiff will not be able to submit his Student Loan Forgiveness documents in
a timely manner to the government.

    57. This is not an exhaustive list of plaintiffs requests fro production of documents and
interrogatories for the United States defendants.

   58.I cannot justify some of my facts or give legal support to my statements because I have
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not had discovery in this case.

I declare under penale of perjury, and to the best of my knowledge, that the foregoing is true and
correct.
                                                                   -
                                                            PHILLIP APPLEGATE
Fred L. Nance Jr.                                              Official Seal
                                                      Notary Public - State of Illinois
                                                    My Commission Expires Jul 6, 2026

Executed this /day of October 2022.




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                       PHILLIP APPLEGATE
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             My Commission Expires Jul 6, 2026

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